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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                JUDGE WALKER D. MILLER

   Civil Action No. 05-cv-377-WDM-BNB

   MOISES CARRANZA REYES,

          Plaintiff,

   v.

   THE PARK COUNTY BOARD OF COUNTY COMMISSIONERS;
   FRED WEGENER, individually and in his official capacity as Sheriff of Park County,
   Colorado;
   MONTE GORE, individually and in his official capacity as Captain of Park County
   Sheriff’s Department; and
   VICKIE PAULSEN, individually and in her official capacity as Registered Nurse for Park
   County, Colorado,

          Defendants.


                       ORDER ON MOTIONS FOR SUMMARY JUDGMENT

   Miller, J.

          This case is before me on the Motion for Summary Judgment from Defendants Park

   County Board of County Commissioners, Fred Wegener and Monte Gore (doc no 117), the

   Supplemental Motion for Summary Judgment (doc no 195) filed by the same defendants,

   and Defendant Vicki Paulsen’s Motion for Summary Judgment (doc no 121). Plaintiff

   opposes the motions. I have reviewed the parties’ written arguments and the evidence

   submitted with their briefs. For the reasons that follow, Defendant Paulsen’s Motion for

   Summary Judgment is denied and the Motion for Summary Judgment from Defendants

   Park County Board of County Commissioners, Fred Wegener and Monte Gore is granted

   in part and denied in part. The Supplemental Motion for Summary Judgment is granted.
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                                           Background

          This is a civil rights action pursuant to 42 U.S.C. § 1983 and Colorado state law

   arising from Plaintiff’s incarceration at the Park County Jail (the “Jail”) from March 1, 2003

   to March 8, 2003. Plaintiff is a Mexican citizen who was arrested on March 1, 2003 and

   held in custody by the immigration authorities.1 Pursuant to an agreement between the

   INS and Park County, Colorado, the Jail provides temporary housing to certain INS

   detainees in exchange for a payment. Plaintiff was held at the Jail and, while there,

   became severely ill, ultimately causing amputation of a leg and other residual damage to

   his health. Except as noted, the following facts are undisputed for the purposes of

   summary judgment.

          Defendant Fred Wegener (“Sheriff”) has been the Sheriff of Park County since

   January 1999. Defendant Monte Gore (“Captain Gore”) was a Captain in the Sheriff’s

   Department and the Jail Administrator, responsible for the overall daily operations of the

   Jail at the time Plaintiff was incarcerated. During Captain Gore’s tenure, the number of

   INS inmates brought to the Jail increased, which helped to increase revenues for the Jail

   and the County. At this time, Park County had contracted with original Defendant James

   J. Bachman, M.D. to provide medical services at the Jail. However, he was primarily on

   call and acted in a supervisory role. Defendant Vicki Paulsen, RN, was the on-site medical

   contact at the Jail in March 2003, although some deputies also had some first responder


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            At the time, the relevant governmental entity charged with enforcing immigration
   laws was the Immigration and Naturalization Service (“INS”). Although that agency has
   since been eliminated and immigration matters are now handled by various sections of
   the Department of Homeland Security, I will follow the convention used by the parties in
   their briefing and use the term “INS” to describe the responsible federal agency.

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   or other medical training.

          Plaintiff, his brother, and his sister-in-law left their homes in Mexico around mid-

   February 2003 and traveled to the border, where they stayed for five or six days. After

   crossing the border, Plaintiff and others were put in a pickup truck and taken to Phoenix,

   Arizona, where they stayed for several more days. They then traveled by pickup to

   Colorado but were stopped by a patrol car. Plaintiff agreed to return voluntarily to Mexico

   and was processed by the INS. On March 1, 2003, Plaintiff, his brother, and his sister-in-

   law were transported to the Jail.

          There were a number of written policies governing the operation of the Jail. Upon

   arrival, inmates were supposed to receive an inmate handbook in English and Spanish,

   intended to provide inmates with information about the Jail, its procedures, and how to get

   medical attention. Plaintiff denies receiving a handbook. According to the Jail’s policies,

   new INS detainees were to receive a clean uniform, t-shirt, underwear, shoes, linens, and

   blankets upon arrival. Another policy provided that uniforms and underwear were to be

   exchanged on Tuesdays and all clothing and linens exchanged on Saturdays.

          The Jail is divided into sections, or pods, which contain a common sleeping area

   on an upper level and a lower level with eating facilities and toilet and shower areas.

   According to the policies, “inmates are housed in cell or dormitory sleeping areas that

   provide at least 80 square feet of total living space per occupant.” Pursuant to the Jail’s

   cleaning policies, supplies were to be given to detainees and inmates in each pod three

   times daily after meals. Cleaning supplies were to include mops, buckets, rags, brooms,

   disinfectant, and window cleaner. During cold season, inmates and detainees were


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   supposed to clean with a bleach solution and mattresses issued to detainees were also

   supposed to be cleaned with bleach solution before being reissued. Trash was to be

   removed regularly. Deputies or inmate/detainee trustees were supposed to supervise

   cleaning to ensure that the areas were cleaned. Policies further provided that “[i]t is the

   policy of the Sheriff’s Office to ensure that all inmates in the jail facility have the

   opportunity to shower daily. All showering units will be maintained at 105 Fahrenheit to

   prevent the danger of scalding.”

          Notwithstanding this and other policies, the Jail had intermittent problems with the

   showers, plumbing, and heating systems, such that showers were at times impossible to

   regulate (and were either scalding or freezing), pods were sometimes cold, and toilets

   sometimes backed up. A maintenance employee would be called to repair the systems,

   but problems apparently persisted.

          According to policy, the Captain was responsible for conducting weekly and monthly

   sanitation and safety inspections, although the weekly inspections could be delegated to

   a deputy. Captain Gore testified that he delegated the weekly inspections to his deputies,

   that his own inspection did not always occur monthly, and that his sanitation inspection

   consisted of walking through the pods. Dr. Bachman was permitted to view the pods from

   a window but not to enter for his own inspections, which usually occurred every three or

   four months. The Sheriff walked through the Jail approximately once every two weeks.

          The Jail also had a policy of providing all inmates and detainees with access to

   medical care. Medication was supposed to be delivered to pods three times a day by the

   nurse or deputies. Inmates could complete a written form to request medical attention and


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   give it to the deputies.    When the nurse delivered medicine, inmates could try to

   communicate with her about medical issues. Deputies often noted medical issues and

   would forward them to the nurse. Pursuant to his agreement with the County, Bachman

   was supposed to develop medical protocols. However, none has been provided as

   evidence in this matter.    A written “Communicable Diseases” policy existed, which

   emphasized screening and provided information about methods of transmission, common

   symptoms of communicable disease, and procedure, including isolation of a sick inmate

   and calling the Jail doctor. The policy also emphasized the importance of preventing the

   spread of such diseases among inmates. The informal policy of the Jail, however, was to

   give all medical information to the nurse, who then decided whether to inform the

   supervising doctor.

          However, pursuant to the policies, the Jail was supposed to have an infection

   control program and an infection control report submitted quarterly to the medical director.

   No such program, committee, or reports were ever implemented. The policies also

   described certain responsibilities of the “health services administrator.” It is unclear who

   had this role; Nurse Paulsen did not know that she was expected to fulfill these duties at

   the time.

          The INS conducted an inspection of the Jail in September 2002. While most

   policies and procedures were rated as acceptable, the INS deemed the laundry policy as

   “deficient” because inmates were not given a daily change of clean underwear. The

   inspector(s) rated the inmates’ access to medical care acceptable and noted “Excellent

   medical unit.”


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          Pod D, which was used for housing male INS detainees, was approximately 740

   square feet in the upper tier and 735 square feet in the lower tier. It had two toilets and

   two urinals and one large wastebasket on the lower level. The original architectural

   drawings for the Jail indicated eight or nine bunks in the pod; with double bunks, this would

   accommodate approximately 16-18 inmates. The dining area in Pod D also contained 18

   seating places. At this capacity, the Pod would comply with the written requirement that

   inmates have 80 square feet of living space per occupant. However, at some point after

   the Jail began to house INS detainees, in 2001, more bunks were added to the pod.

   Eventually, and at the time of Plaintiff’s detention, the pod contained 14 triple bunks,

   providing 42 beds. However, when these bunks were filled, additional detainees would be

   provided mattresses to put on the floor. The number of detainees in the facility varied per

   day, but averaged more than 18 detainees per day from January to March 2003 (26.1,

   31.1, 20.3 for each respective month). Captain Gore had no policy limiting the number of

   detainees the Jail would accept from the INS. The Sheriff was aware that detainees slept

   on the floor of the pod when the bunks were filled and knew the overall number of inmates

   in the Jail. He did not have specific information about how many detainees were in Pod

   D on any given day. Nurse Paulsen testified that she expressed concern about the

   number of detainees housed in the pod to several deputies, but not to Captain Gore.

          Plaintiff was processed at the Jail where, pursuant to policy, he completed a

   medical screening form in Spanish; Plaintiff did not identify any medical needs. Plaintiff

   was given a uniform and linens. Plaintiff testified in his deposition that, notwithstanding

   the policy, he was given dirty, smelly clothes and blankets. There is a dispute about how


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   many detainees were in the pod on March 1, 2003. Plaintiff contends that there were 41

   before his group arrived, for a total of 48. Defendants argue that there were 41 total,

   including Plaintiff and the other newly arrived detainees. Plaintiff had to sleep on the floor

   because all of the bunks were full. On March 2, 2003, the pod held 48 detainees. On

   March 4, 2003, there were 50 detainees in the pod. On March 6, there were 61 detainees.

   On March 7, 2003, 50 detainees were transferred out of the Jail, leaving 11 detainees on

   the night of March 7, 2003 and the morning of March 8, 2003.

          According to Plaintiff, the pod was dirty and many inmates were sick. Tissue and

   toilet paper containing mucous and saliva were strewn around the pod. The pod was cold

   and detainees plugged the air duct with blankets to stop the cold air. The showers and

   toilets were not functioning properly. The shower temperature was either scalding or

   freezing and the inmates sometimes could not shower. The toilets were frequently backed

   up. The deputies attempted to clear them but sometimes were unsuccessful because of

   the volume of waste. There is conflicting testimony about whether cleaning supplies were

   provided. According to the Jail records and deputy testimony, cleaning supplies were

   provided every day. However, Plaintiff testified that the pod was never cleaned and could

   not be properly cleaned because of the overcrowding and because detainees were not

   given chemicals. Several inmates were extremely sick, sweating, shaking, and vomiting;

   many others had coughs, runny noses, and other cold and flu symptoms. Later, inmates

   vomited on the floor and only had paper towels to clean with; there is evidence that the

   toilet seats had vomit on them. In addition, the Jail laundry facilities had broken down so

   that no clean laundry was available. On March 4, 2003, the detainees had to take off their


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   clothes so that they could be laundered. The detainees wrapped themselves in blankets

   until their clothes were returned to them.

          The deputies were aware that several inmates were sick, so additional coolers with

   drinks and water were placed in Pod D on March 4, 2003. Captain Gore was informed by

   memo that several detainees “appear to be experiencing chest colds/flu or altitude

   sickness.” Plaintiff became ill on March 4, 2003 and requested to see the nurse; however,

   Nurse Paulsen was not at the facility that day because she had had oral surgery. Although

   she returned to work on March 5, Plaintiff did not know when she went by and was not able

   to get her attention. Plaintiff finally saw Nurse Paulsen on March 6, 2003, after his brother

   brought it to a deputy’s attention that Plaintiff had not been seen. Speaking through a

   detainee interpreter, he reported aches, headache, nausea, diarrhea, nasal congestion,

   and a sore throat. Nurse Paulsen’s notes describe that he was tender over the stomach

   area, had a temperature of 100.2, and his respiration was at 24. However, Plaintiff

   testified that she did not examine him at all and only asked him where he was from. She

   gave him Ibuprofen, over the counter nasal congestion medicine, and Pepto-Bismol for his

   nausea. She told him he would feel better soon, that he had altitude sickness, and to

   inform medical if he did not improve. Four other detainees were seen by Nurse Paulsen

   the same day for medical issues. Nurse Paulsen did not notify Dr. Bachman of the sick

   detainees at that time or thereafter.

          The next day, March 7, Plaintiff was not better and had a painful cough. He asked

   to see the nurse again. He again complained of headache, nausea, vomiting, body aches,

   diarrhea, and nasal congestion. His abdomen was tender and his respiratory rate was 24,


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   but his fever was down. Nurse Paulsen again gave him the same over the counter

   remedies. She did not contact Dr. Bachman. Medication was delivered to inmates three

   times on March 7. When Nurse Paulsen left the Jail for the weekend, she left instructions

   for the Jail staff to keep an eye on Plaintiff and informed them of the medications he could

   take.

           Plaintiff got progressively more ill through the night of March 7 and morning of

   March 8. The inmate who had previously acted as interpreter for him had been transferred

   out of the pod. Deputy Don Frye entered Pod D at 1 a.m. and observed Plaintiff holding

   his stomach and looking sick. Deputy Frye communicated with Plaintiff with the help of

   another inmate and gestures. Deputy Frye gave Plaintiff more pain reliever and Pepto

   Bismol. At around 3 a.m., Plaintiff again complained to the deputy that he was very sick

   and was having trouble breathing. Plaintiff pointed to his back and throat to indicate his

   pain. Deputy Frye took Plaintiff to the infirmary and checked his vital signs, which showed

   a blood pressure of 143/78, respiration of 34, which indicated shallow breathing, and pulse

   of 62. He gave Plaintiff oxygen and asked the controller, Deputy William Fikejs, to call

   Nurse Paulsen at home. Deputy Fikejs called Nurse Paulsen and informed her that

   Plaintiff was having trouble breathing, that he was vomiting, and that he had nausea.

   Nurse Paulsen instructed the deputies to continue to monitor Plaintiff’s condition and let

   her know if it worsened. According to Nurse Paulsen, Deputy Fikejs told her that Plaintiff

   felt better after taking oxygen, but Deputy Frye’s notes indicated that Plaintiff said the

   oxygen did not help.

           For the rest of the night, Deputy Frye observed that Plaintiff continued to appear to


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    be ill and in distress. He offered Plaintiff more oxygen at around 5:20 a.m., which Plaintiff

    declined. He asked Plaintiff to indicate his condition with a thumbs up for better, thumbs

    down for worse, and flat hand for the same; Plaintiff both times indicated he felt the same.

    Plaintiff pointed to his mid lower right section of his back, indicating pain. Deputy Frye

    gave Plaintiff more medication at 7 a.m.; Plaintiff again indicated with hand gestures that

    he felt the same and declined oxygen. At some point that night or morning, Plaintiff

    noticed blood in his urine.

           Nurse Paulsen called at 6 a.m. to check on Plaintiff’s condition. She was told he

    was resting and had used the restroom once in the last two hours. She arrived at the Jail

    around 7:45 or 8 a.m. Around 8:10 a.m., Plaintiff collapsed on the floor of the pod. Nurse

    Paulsen was called to examine him. She noted that he had acute pain on his right side

    over his right kidney, radiating to his right flank and down into the lower right abdomen.

    She had him moved to the lower tier of the pod and determined he needed to be taken to

    a medical facility, as Dr. Bachman was unavailable. She did not know what was wrong

    with him but believed it possible that he had a kidney stone and so sent a deputy to

    purchase cranberry juice. When Plaintiff attempted to drink the juice, he vomited into a

    trash can.

           Nurse Paulsen was told by a corporal that she had to call the INS to get permission

    to transport Plaintiff to a medical facility. Nurse Paulsen was told by an INS official that

    they could not guarantee transport for another three hours, but that she could move

    Plaintiff if his condition worsened. She called the medical center to inform them that

    Plaintiff would be arriving; however, she did not prepare copies of her treatment records


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    to go with Plaintiff. She then left the Jail around 9 a.m. to return home, despite a Jail

    policy requiring her to stay on-site while awaiting transport. Paulsen called the Jail around

    11 a.m. to check on Plaintiff’s status. She learned at that time he had not yet been

    transferred and that he was vomiting more frequently. She then ordered that he be

    immediately taken to the medical center.       Plaintiff had been continuing to vomit, was

    having breathing trouble, and vomited while in transit. One officer observed blood in

    Plaintiff’s saliva but this was not communicated to Nurse Paulsen.

           Upon arrival at the Summit Medical Center around 12:40 p.m., Plaintiff was treated

    by Timothy B. Keeling, D.O., who diagnosed Plaintiff with “1. Right middle lobe and right

    lower lobe pneumonia 2. Sepsis 3. Hypokalemia 4. Elevated, creatinine, abnormal

    chemistries.” Because the Summit Medical Center had no inpatient facility to treat Plaintiff,

    Dr. Keeling ordered him transferred to Denver Health Medical Center. He was taken by

    ambulance around 3:28 p.m. and arrived at approximately 4:55 p.m. His condition was

    unstable when he arrived and he declined rapidly. He was in septic shock on arrival and

    had pneumonia in both lungs. He was in respiratory failure and had rapidly progressing

    multi-organ dysfunction.     It was determined that his pneumonia was caused by

    streptococcus Group A bacteria, which is particularly aggressive and toxic. Plaintiff’s lower

    legs were so seriously compromised that one had to be amputated and the other was

    barely saved. According to the treating physician, once septic shock develops, a patient

    must receive treatment within a four hour window or survival is unlikely.

           The remaining detainees were examined and treated medically on March 10, 2003.

    Several were prescribed antibiotics because Dr. Bachman believed they had bacterial


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    infections. A memo was issued on March 9, 2003, instructing that all pods be cleaned with

    a 10% bleach solution, with particular attention to any accumulated mold. Another memo

    followed the next with instructions to clean all units daily with bleach solution and to

    attempt to exchange linens daily, as well as cleaning procedures for mattresses.

           In the Second Amended Complaint, which now governs this dispute, Plaintiff alleges

    the following claims: (1) violation of Plaintiff’s constitutional right to sanitary conditions of

    confinement and adequate medical care against the Board, the Sheriff, and Captain Gore;

    (2) violation of Plaintiff’s constitutional right to sanitary conditions of confinement and

    adequate medical care against Nurse Paulsen2; and (3) negligence against Nurse

    Paulsen.    In particular, Plaintiff alleges the defendants failed to enact policies and

    procedures to adequately staff and train personnel to diagnose illness, respond to medical

    emergencies, treat inmates, and to prevent overcrowding and development of unsanitary

    conditions at the Jail.

                                         Standard of Review

           Summary judgment should be granted “if the pleadings, depositions, answers to

    interrogatories, and admissions on file, together with affidavits, if any, show that there is

    no genuine issue as to any material fact and that the moving party is entitled to a judgment

    as a matter of law.” Fed.R.Civ.P. 56(c). A genuine issue of material fact exists when “the

    evidence, construed in the light most favorable to the non-moving party, is such that a

    reasonable jury could return a verdict for the non-moving party.” Anderson v. Liberty



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           Dr. Bachman was originally named as a defendant in this action but the claims
    against him have been dismissed.

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    Lobby, Inc., 477 U.S. 242, 248, 255, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986).

                                              Discussion

    1.        Liability of the Board of County Commissioners

              Defendant Board of County Commissioners of Park County argues that it cannot be

    liable for any alleged violations occurring from Plaintiff’s confinement because it is not

    responsible for the operations of the Jail, it took no action that resulted in Plaintiff’s

    injuries, and because no policy or practice of the Board violated Plaintiff’s constitutional

    rights.

              A municipality or other governmental entity may be subjected to liability under §

    1983 where the action alleged to be unconstitutional executes or implements a

    governmental policy or custom. Monell v. New York Dept. of Social Services, 436 U.S.

    658, 690-91 (1978).

              I agree that the Board is not a proper defendant in this action, but that the County

    is liable for claims against its employees in their official capacities. Under the Colorado

    Constitution, county commissioners and Sheriffs are separate governmental officers. Colo.

    Const. art. XIV. Pursuant to statute, sheriffs have the authority and responsibility to

    oversee county jails. C.R.S. § 30-10-511. Colorado courts have determined that a sheriff,

    not the board of commissioners, is the legal entity responsible for tortious behavior by a

    deputy sheriff. Tunget v. Board of County Comm’rs of Delta County, 992 P.2d 650, 651-52

    (Colo. App. 1999). The parties do not appear to dispute that an action against the Sheriff

    in his official capacity is essentially an action against the entity that employs him–i.e., Park

    County.       Pietrowski v. Town of Dibble, 134 F.3d 1006, 1009 (10th Cir. 1998) (citing


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    Kentucky v. Graham, 473 U.S. 159, 165-66 (1985)). Moreover, Defendants concede that

    if Plaintiff is successful on his official capacity claims, the county’s funds will be available

    to satisfy a judgment. The parties also do not appear to dispute that the Sheriff is the final

    policymaker for matters concerning the operations of the Jail. See, e.g., Cortese v. Black,

    838 F.Supp. 485, 496 (D.Colo. 1993).

           Plaintiff argues that the Board does have responsibility for the operations of the Jail

    and that its official policies and practices directly caused Plaintiff’s injuries. First, Plaintiff

    contends that because the Board has the authority to adopt an annual budget for the Jail

    and power to use the county jail for the incarceration of offenders, it is also responsible for

    the operations of the Jail. The case cited by Plaintiff in this regard, Robertson v. Board

    of County Comm’rs of County of Morgan, 985 F. Supp. 980, 985 (D. Colo. 1997) is an

    employment case addressing standing issues and I do not find it persuasive. Plaintiff also

    cites Winton v. Board of Commr’s of Tulsa County, Okla., 88 F. Supp. 2d 1247 (N.D. Okla

    2000). However, since Winton did not involve an analysis of the respective roles and

    responsibilities of the sheriff and board, it has no bearing on this issue.

           Plaintiff also argues that the Board is a responsible entity because, pursuant to

    statute, “[i]t is the duty of the board of county commissioners to make personal examination

    of the jail of its county, its sufficiency, and the management thereof during each session

    of the board and to correct all irregularities and improprieties therein found. C.R.S. § 17-

    26-126. However, a Colorado court has held that this provision does not mean that a

    board exercises managerial control over either the sheriff, the detention center, or its staff,

    and does not impose a legal duty to ensure the safety of an inmate. See Terry v. Sullivan,


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    58 P.3d 1098, 1102 (Colo. App. 2002). Because Colorado law does not hold the Board

    responsible for the acts of the Sheriff in connection with the management of the Jail, I

    decline to find that it had independent duties or was the responsible policymaker for

    purposes of section 1983. See Frazier v. Jordan, Case No. 06-1333, 2007 WL 60883 at

    *6 (10th Cir. Jan. 10, 2007).

           Finally, Plaintiff argues that the Board “encouraged and approved the practice of

    overcrowding,” which created the unsanitary conditions that led to Plaintiff’s injuries, by

    approving “revenue-producing budgets creating greater and greater profits for the county”

    by increasing the number of inmates and detainees housed in the Jail through contracts

    like that with the INS. Aside from approving budgets, all the alleged actions upon which

    Plaintiff bases his claims are those taken by the Sheriff and Captain Gore. Plaintiff has

    provided no evidence to show that the Board had the authority to or actually did make any

    decisions or implement a policy or custom that caused injury to Plaintiff. Simply entering

    into a contract with the INS is not sufficient to establish a “policy,” where the Sheriff and

    his staff, not the Board, had the authority to determine how many inmates the Jail would

    house and how they would be treated. Plaintiff offers newspaper articles showing that the

    Board was aware of profits generated by the Jail and generally approved of Captain Gore’s

    management of the facility. This is far too attenuated to show that the Board took any

    action that caused Plaintiff’s injuries.

           Since Plaintiff’s authorities do not demonstrate that the Board, rather than the

    Sheriff, is the responsible policymaker for the conditions and operation of the Jail by law

    and in practice, summary judgment in favor of the Board is appropriate on all counts. As


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    discussed, however, this does not mean that Park County will avoid liability if Plaintiff

    proves that his injuries resulted from an official policy or practice of the Sheriff.

    2.     Constitutional Violation for Inadequate Medical Care

           Plaintiff’s First Claim for relief against the Sheriff and Captain Gore and his Second

    Claim against Nurse Paulsen are based upon alleged inadequate medical care. The Due

    Process clause of the Fourteenth Amendment governs a pretrial detainee’s claim of

    unconstitutional conditions of confinement; however, the Eighth Amendment standard

    provides the analytic framework for such claims. Craig v. Eberly, 164 F.3d 490, 495 (10th

    Cir. 1998). The Eighth Amendment requires jail officials “to provide humane conditions of

    confinement by ensuring inmates receive the basic necessities of adequate food, clothing,

    shelter, and medical care and by taking reasonable measures to guarantee the inmate’s

    safety.” Barney v. Pulsipher, 153 F.3d 1299, 1310 (10th Cir. 1998).

           It is well established that prison officials violate the Eighth Amendment if their

    “deliberate indifference to serious medical needs of prisoners constitutes the unnecessary

    and wanton infliction of pain.” Estelle v. Gamble, 429 U.S. 97, 104 (1976) (internal

    quotation marks omitted). However, a claim based on “an inadvertent failure to provide

    adequate medical care” or alleging “that a physician has been negligent in diagnosing or

    treating a medical condition” does not state a valid claim of medical mistreatment under

    the Eighth Amendment. Kikumura v. Osagie, 461 F.3d 1269, 1291 (10th Cir. 2006)

    (citations omitted). “Rather, ‘a prisoner must allege acts or omissions sufficiently harmful

    to evidence deliberate indifference to serious medical needs.’” Self v. Crum, 439 F.3d

    1227, 1230 (10th Cir. 2006) (quoting Estelle, 429 U.S. at 106).


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           To demonstrate an Eighth Amendment violation, an inmate must satisfy both

    objective and subjective elements. The objective component is met if the deprivation is

    “sufficiently serious,” i.e., one that “has been diagnosed by a physician as mandating

    treatment or . . . is so obvious that even a lay person would easily recognize the necessity

    for a doctor's attention.” Oxendine v. Kaplan, 241 F.3d 1272, 1276 (10th Cir. 2001)

    (quoting Hunt v. Uphoff, 199 F.3d 1220, 1224 (10th Cir .1999)). Delay in providing medical

    care can also support an Eighth Amendment claim, if the plaintiff can show that the delay

    resulted in substantial harm. Id. at 1276. That substantial harm can be the ultimate

    physical injury caused by the prisoner’s illness or condition or an intermediate injury, such

    as the pain experienced while waiting for treatment. Kikumura, 461 F.3d at 1292.

           The subjective component of the deliberate indifference test is met if the defendant

    “knows of and disregards an excessive risk to inmate health or safety.” Sealock v.

    Colorado, 218 F.3d 1205, 1209 (10th Cir. 2000). A prison medical professional who

    “knows that his role in a particular medical emergency is solely to serve as a gatekeeper

    for other medical personnel capable of treating the condition” may be held liable under the

    deliberate indifference standard if that person delays or refuses to fulfill that gatekeeper

    role. Id. at 1211. “Deliberate indifference” does not require a showing of express intent

    to harm, rather, it is enough that the official acted or failed to act despite his or her

    knowledge of a substantial risk of serious harm. Mata v. Saiz, 427 F.3d 745, 752 (10th Cir.

    2005) (citations omitted).

           I first examine whether there is a genuine issue of material fact for trial on the

    alleged predicate constitutional violation, specifically, whether any of the employees of the


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    Sheriff were deliberately indifferent to Plaintiff’s serious medical needs. The parties do not

    appear to dispute that Plaintiff’s evidence establishes that Plaintiff’s medical need was

    sufficiently serious,3 the objective component of the claim. Similarly, there is no dispute

    that the delay in providing Plaintiff medical treatment caused him substantial harm. The

    singular issue, therefore, is the subjective component of each defendant’s omission – i.e.,

    did he or she know of a substantial risk to Plaintiff’s health and thereafter acted or failed

    to act despite that knowledge.

           A.     Nurse Paulsen

           Nurse Paulsen argues that Plaintiff cannot establish the subjective component of

    the deliberate indifference test. She argues that she merely exercised her “considered

    medical judgment” in assessing Plaintiff’s medical condition, similar to the defendant in

    Self, and appropriately decided when additional treatment was needed. In Self, the Tenth

    Circuit again emphasized that mere negligent misdiagnosis of non-specific symptoms,

    which were appropriately treated given the physician’s understanding of the underlying

    condition, is not enough to permit an inference that the doctor consciously disregarded an

    inmate’s medical emergency.4 439 F.3d at 1232-33 (“where a doctor orders treatment


           3
           Mata, supra, establishes that the objective component of the test can be
    determined by reference to the ultimate harm to the prisoner, as well as the prisoner’s
    symptoms at the time of the prison employee’s actions. 427 F.3d at 753-54.
           4
            Self also sets forth typical fact situations demonstrating “obviousness in the
    circumstances of a missed diagnosis or delayed referral,” including “(1) a medical
    professional recognizes an inability to treat the patient due to the seriousness of the
    condition and his corresponding lack of expertise but nevertheless declines or
    unnecessarily delays referral, e.g., a family doctor knows that the patient needs
    delicate hand surgery requiring a specialist but instead of issuing the referral performs
    the operation himself; (2) a medical professional fails to treat a medical condition so

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    consistent with the symptoms presented and then continues to monitor the patient's

    condition, an inference of deliberate indifference is unwarranted under our case law”).

           Initially and through March 7, the evidence is undisputed that Plaintiff presented

    with symptoms consistent with a variety of conditions, including viral illness or altitude

    sickness, and that Nurse Paulsen ordered treatment consistent with those conditions.

    Even though Plaintiff presents some evidence indicating that his strep throat or pneumonia

    could have been diagnosed at that time, this does not suffice to establish that Nurse

    Paulsen knew of or consciously disregarded a substantial risk that he had a serious

    ailment. See Self, 439 F.3d at 1234 (the mere possibility that plaintiff’s symptoms could

    also point to other conditions is not sufficient to create an inference of deliberate

    indifference). Plaintiff also argues that had Nurse Paulsen referred Plaintiff to a physician

    or other treating medical professional, rather than diagnosing and treating him herself, his

    strep throat could have been caught sooner and not developed into the serious pneumonia

    and sepsis. That may be, but Plaintiff’s evidence in this regard shows at most negligence,

    not deliberate indifference.

           The events of March 8, however, present a worsening scenario. As summarized

    above, Plaintiff’s symptoms worsened considerably and included difficulty in breathing.

    Vital signs were troublesome and nausea with vomiting continued, despite being provided



    obvious that even a layman would recognize the condition, e.g., a gangrenous hand or
    a serious laceration; and (3) a medical professional completely denies care although
    presented with recognizable symptoms which potentially create a medical emergency,
    e.g., a patient complains of chest pains and the prison official, knowing that medical
    protocol requires referral or minimal diagnostic testing to confirm the symptoms, sends
    the inmate back to his cell.” 439 F.3d at 1242 (punctuation and citations omitted).

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    pain reliever and Pepto Bismol. Plaintiff’s condition was apparently sufficiently serious that

    a lay person, Deputy Frye, felt it necessary to obtain Nurse Paulsen’s advice. Nurse

    Paulsen was contacted at approximately 3 a.m. but took no action other than to instruct

    that she should be notified if his condition worsened.5 In the morning, she did call but did

    not go to the Jail until approximately 8:00, shortly before Plaintiff collapsed at 8:10 a.m.

    After examination, she determined he should be taken to a medical facility. Even though

    she was apparently advised that transport may be delayed for several hours, she returned

    home in violation of the policy requiring her to remain on site pending transport. When

    checking on his status around 11:00 a.m., she learned he was still present and the

    symptoms had worsened. She ordered immediate transport to the medical center which

    promptly diagnosed the several problems and transferred him to Denver for treatment.

           Under these circumstances, the issue is not whether Nurse Paulsen knew that

    Plaintiff had pneumonia and sepsis; the question is whether she failed her duties as a

    gatekeeper to capable medical help with deliberate indifference. Although it is a close

    issue, I conclude that, construing the disputed and undisputed facts in the light most

    favorable to Plaintiff, a reasonable jury could find that Nurse Paulsen was deliberately

    indifferent as a gatekeeper to the Plaintiff’s medical needs by March 8, 2003. See

    Kikumura, 461 F.3d at 1295 (even if initial diagnosis was merely negligent, allegation that

    medical provider delayed treatment even after realizing seriousness of prisoner’s condition

    could support a claim of deliberate indifference); Mata, 427 at 755-56 (nurse who did not



           5
           There is also a genuine issue of material fact as to whether Nurse Paulsen was
    informed that Plaintiff improved after being administered oxygen.

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    examine inmate suffering from severe chest pains and told inmate that there was nothing

    she could do was deliberately indifferent to inmate’s medical needs).

           Defendant Paulsen asserts the defense of qualified immunity to Plaintiff’s claim. “In

    an action under section 1983, individual defendants are entitled to qualified immunity

    unless it is demonstrated that their alleged conduct violated clearly established

    constitutional rights of which a reasonable person in their positions would have known.”

    Murrell v. Sch. Dist. No. 1, Denver, Colo., 186 F.3d 1238, 1251 (10th Cir. 1999). Once a

    defendant has raised qualified immunity as an affirmative defense, the plaintiff bears the

    heavy two-part burden of demonstrating that (1) the defendant violated a constitutional

    right and (2) the constitutional right was clearly established at the time of the alleged

    conduct. Reynolds v. Powell, 370 F.3d 1028, 1030 (10th Cir. 2004).

           As discussed above, I conclude that there are facts from which a reasonable jury

    could conclude that Nurse Paulsen violated Plaintiff’s constitutional right to adequate

    medical care. In addition, it appears that the right was clearly established in March 2003.

    The most pertinent case concerning potential liability of a gatekeeper is Sealock, which

    was decided in 2000. In that decision, the Tenth Circuit made clear that deliberate

    indifference may occur when “prison officials prevent an inmate from receiving treatment

    or deny him access to medical personnel capable of evaluating the need for treatment,”

    even when the person denying or delaying access to care is a medical professional. 218

    F.3d at 1211 (emphasis added). In addition, the Oxendine case, decided in 2001, clearly

    establishes that where a medical provider fails to give an inmate access to an outside

    medical resource, despite the obvious failure of the provider’s treatment and resulting


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    serious medical condition of the patient, deliberate indifference and liability may be found.

    241 F.3d at 1278-79 (prison doctor’s delay in allowing plaintiff to see outside specialist for

    severed finger could be deliberately indifferent in light of obvious signs of gangrene and

    necrosis and performance of specialized surgery beyond prison doctor’s skill and

    experience). Under these authorities, Plaintiff’s right to timely access to a medical provider

    who could diagnose and treat his serious medical condition was clearly established.

           Accordingly, Defendant Paulsen’s motion for summary judgment on the second

    claim for relief should be denied.

           B.     Sheriff and Captain Gore - individual capacity

           Sheriff and Captain Gore move for summary judgment on this claim on the grounds

    that Plaintiff’s evidence does not demonstrate that they were personally involved in any

    decisions regarding his medical treatment. In addition, to the extent that they received

    information about Plaintiff’s condition, they were entitled to rely on Nurse Paulsen’s

    medical assessments as to how to proceed (citing, inter alia, McCracken v. Jones, 562

    F.2d 22 (10th Cir. 1977)). I agree. Plaintiff does not identify evidence showing that either

    of these defendants knew of Plaintiff’s symptoms or prevented his access to medical care

    despite this knowledge. Moreover, although Plaintiff disputes whether Defendants would

    be entitled to rely on the opinion of a nurse, rather than a physician, Plaintiff has provided

    no authority that would indicate such reliance demonstrates deliberate indifference in

    these circumstances. Accordingly, no individual liability can attach to these defendants




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    on this claim.6

           C.       Official Capacity

           Plaintiff also asserts municipal liability claims by asserting claims against the

    defendants in their official capacities. The County would not be liable under section 1983

    solely because its employee inflicted injury. Graves v. Thomas, 450 F.3d 1215, 1218 (10th

    Cir. 2006) (citing Monell). Rather, municipal liability requires (1) the existence of a

    municipal policy or custom; and (2) a direct causal link between the policy or custom and

    the injury alleged. Id. (citing City of Canton, Ohio v. Harris, 489 U.S. 378, 385 (1989)).

    “When the claim is a failure to act, the plaintiff must demonstrate the municipality’s inaction

    was the result of ‘deliberate indifference’ to the rights of its inhabitants.” Id. (punctuation

    omitted). Under Tenth Circuit law, the deliberate indifference standard may be satisfied

    “when the municipality has actual or constructive notice that its action or failure is

    substantially certain to result in a constitutional violation, and it consciously and

    deliberately chooses to disregard the risk of harm.” Barney v. Pulsipher, 143 F.3d 1299,

    1307 (10th Cir. 1999). The question, then, is whether Nurse Paulsen’s omissions were

    pursuant to or the result of an official government policy or custom, including a policy or

    custom of failing to train or supervise on-site personnel amounting to deliberate

    indifference.



           6
             Although Plaintiff generally asserts that these defendants could be individually
    liable on theories of failure to supervise or failure to train, Plaintiff does not provide any
    specific analysis in this regard. As discussed in connection with the municipal liability
    claim, I discern no evidence indicating any link between Nurse Paulsen’s decision not
    to immediately transport Plaintiff for medical care and any alleged failure to train or
    supervise amounting to deliberate indifference.

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           Defendants argue that no liability can attach because there were numerous policies

    in place regarding medical care for detainees, including policies requiring screening, on-

    and off-site treatment, delivery of medication, transfer of information, and isolation of ill

    inmates. In addition, Defendants argue that Plaintiff cannot show a causal connection

    between any policy or custom and his injury. In response, Plaintiff argues that the failure

    to ensure that enacted policies were understood and implemented by staff is sufficient to

    impose liability.

           I agree with Defendants. There is nothing in the record to indicate that Nurse

    Paulsen’s delay in permitting Plaintiff to access outside medical treatment was the result

    of any official policy or custom, but rather resulted from the exercise of her discretion. In

    addition, Plaintiff has offered no evidence from which a reasonable jury could conclude

    that the official policymakers had actual or constructive notice that more training or closer

    supervision was needed or that the existing medical policies were insufficient. There were

    policies in place for the detection, isolation, and treatment of disease.7 There is no

    evidence of previous serious outbreaks of serious illness or of a patient being denied

    medical care for a serious condition, or of reports from inspectors, that would have given

    notice that these policies or training were inadequate. Moreover, Nurse Paulsen was a

    trained medical professional. Plaintiff has offered no evidence to show that the County

    would not be entitled to rely on her training or judgment in these circumstances or had

    notice that she might not competently perform her nursing or gatekeeper duties. The facts



           7
           Even if these policies were not followed, this is not sufficient to give rise to
    municipal liability in the absence of notice.

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    presented here, even construed in the light most favorable to Plaintiff, simply do not

    demonstrate the requisite level of culpability to establish municipal liability for failing to

    train personnel in policies concerning detection and treatment of illnesses. Meade v.

    Grubbs, 841 F.2d 1512, 1528 (10th Cir. 1988) (a supervisor or municipality may be held

    liable where there is essentially a complete failure to train, or training that is so reckless

    or grossly negligent that future misconduct is almost inevitable).

    3.     Constitutional Violation for Inhumane Conditions of Confinement

           Plaintiff asserts claims against Defendants based on inhumane conditions of

    confinement. Where conditions of confinement are egregious and inhumane, they may

    constitute “cruel and unusual punishment” in violation of the Eighth Amendment. The

    elements to be satisfied for such a claim are essentially the same as those for a claim of

    failure to provide adequate medical treatment: an inmate must establish that (1) the

    condition complained of is “sufficiently serious” to implicate constitutional protection; and

    (2) prison officials acted with “deliberate indifference.” Farmer v. Brennan, 511 U.S. 825,

    834 (1994).

           The defendants appear to concede for the purposes of summary judgment that

    Plaintiff’s evidence, if credited by a reasonable jury, would be sufficient to establish that

    the conditions of the detention center were serious enuogh to warrant constitutional

    protection. See DeSpain v. Uphoff, 264 F.3d 965, 973-74 (10th Cir. 2001) (conditions are

    sufficiently serious if they pose a substantial risk of serious harm to inmate health or

    safety; exposure to human waste, even for a short duration, carries “particular weight” in

    the conditions calculus because of the attendant health concerns). However, they contend


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    they are entitled to summary judgment because of a lack of personal participation in the

    alleged violation or because Plaintiff cannot demonstrate that they were deliberately

    indifferent to these conditions.

           Deliberate indifference requires a showing that the official “knows of and disregards

    an excessive risk to inmate health or safety; the official must both be aware of facts from

    which the inference could be drawn that a substantial risk of serious harm exists, and he

    must also draw the inference.” Farmer, 511 U.S. at 837. The test requires a mental

    culpability on par with criminal recklessness. Id. at 836. In some cases, it may be possible

    to infer that a prison official knew of a substantial risk from the very fact that the risk was

    obvious. Id. at 842. However, if an official is aware of the potential for harm but takes

    reasonable efforts to avoid or alleviate that harm, there is no liability. Id. at 844.

           A.     Nurse Paulsen

           It is unclear whether Plaintiff still asserts a conditions-of-confinement claim against

    Nurse Paulsen. In Nurse Paulsen’s motion for summary judgment, she posits that the only

    section 1983 claim against her was for inadequate medical care. Plaintiff’s complaint does

    not appear to so limit his section 1983 claim but his response to Nurse Paulsen’s motion

    did not challenge this characterization of his claims. I interpret that silence as a waiver of

    any such claim that may have been included in his complaint. I would also observe that

    Plaintiff has made no factual showing that Nurse Paulsen had any authority to make any

    changes regarding the Jail conditions.        Accordingly, she would not by herself be

    responsible to correct or change the alleged overcrowding and unhealthy conditions of

    confinement. She cannot, therefore, be liable for the confinement conditions, individually


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    or in an official capacity.

           B.     Sheriff - individual capacity

           It is undisputed that the Sheriff, during the relevant time period, had delegated

    responsibility for day-to-day operations of the Jail to Captain Gore. Plaintiff’s evidence

    shows that the Sheriff walked through the Jail approximately once every two weeks and

    that he had information about the total number of inmates housed in the Jail on a given

    day, although this information was not broken down by pod or unit. He also appears to

    have been generally aware of overcrowding, in that he knew that inmates sometimes slept

    on the floor when bunks were filled. Plaintiff argues that the Sheriff should be held liable

    in his individual capacity for failure to supervise or train Captain Gore and other personnel,

    thereby allowing the overcrowding, filth, and disease to develop.

           To establish supervisory liability, a plaintiff must establish a “deliberate, intentional

    act” by a supervisor such that there is a “sufficient causal connection” between the

    supervisor and the constitutional violation. Serna v. Colo. Dep’t of Corr., 455 F.3d 1146,

    1151 (10th Cir. 2006). Again, mere negligence is not sufficient to establish liability. Id.

    Rather, a plaintiff must show active participation or acquiescence through personal

    participation, exercise of control or direction, failure to supervise, or tacit authorization of

    the offending acts. Id. at 1152-53. Where, as here, the sheriff is responsible for proper

    management of a jail, the sheriff maybe accountable if he “knew or should have known of

    the misconduct, and yet failed to prevent future harm.” Meade, 841 F.2d at 1528 (citations

    omitted).

           A reasonable jury could infer from the disputed and undisputed facts that the Sheriff


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    had notice of and acquiesced to the overcrowding and potential hazards to inmate health

    in the D-pod. Although the Jail may have had numerous policies in effect designed to

    address sanitation and disease, it appears that the Sheriff had at least constructive

    knowledge that the pods were sometimes overcrowded. As discussed below, in light of

    the obviousness that contagion and unsanitary conditions could result, it is possible for a

    reasonable jury to conclude that the Sheriff knew of and tacitly approved of the creation

    of conditions that posed a risk to inmate health. Accordingly, I conclude that the Sheriff

    is not entitled to judgment as a matter of law on Plaintiff’s claim of supervisory liability for

    the alleged unsanitary conditions. Moreover, as discussed further below, because the law

    in this regard was well-established, he is not entitled to qualified immunity.

           C.     Captain Gore - individual capacity

           Defendants argue that summary judgment should enter in Captain Gore’s favor as

    well because Captain Gore did not personally participate in any violation of Plaintiff’s

    constitutional rights and there is no affirmative link between any of his actions in a

    supervisory capacity as Jail Administrator and Plaintiff’s alleged harms. They further

    argue that, even if Plaintiff could establish a violation of his constitutional rights, Captain

    Gore is entitled to qualified immunity because no constitutional right was clearly

    established at the time.

           Since Captain Gore was responsible for the day-to-day operations of the Jail and

    was the final policy maker with respect to how many inmates would be housed in D-Pod,

    the argument that he had no personal participation in the creation or mitigation of the

    conditions of Plaintiff’s confinement must fail. There is no dispute that Captain Gore knew


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    how many detainees were in the D-Pod on a given day and there is disputed evidence

    that, as a matter of official or unofficial policy, the Jail would accept as many detainees as

    the INS wanted to send. Moreover, it is undisputed that Captain Gore had supervisory

    responsibility over enforcement of Jail policies concerning sanitation and cleaning. This

    could be sufficient to impute liability if he had knowledge of the failure of those policies.

    See DeSpain, 264 F.3d at 976-77 (associate warden in charge of prison unit that was

    flooded for several days could be found to have been deliberately indifferent to health

    risks).

              I conclude that there are numerous disputed and undisputed facts that preclude

    entry of summary judgment in Captain Gore’s favor on this issue. First, a reasonable jury

    could conclude that the pod was designed for eighteen inmates but that it often held more

    than double that number. It would also be reasonable to infer that the health risks of

    overcrowding is fairly obvious, particularly with respect to INS detainees, some of whom,

    like Plaintiff, may have traveled far under arduous circumstances. Moreover, there is

    evidence from which a jury could conclude that Captain Gore knew about recurring

    problems with the toilets and showers, which were never fully resolved. See Farmer, 511

    U.S. at 842-43 (where risk was longstanding, pervasive, well documented, or expressly

    noted by prison officials in the past, it may be permissible for trier of fact to conclude that

    defendant official had actual knowledge of the risk). For fifty or sixty inmates to share two

    toilets that had a tendency to get backed up and overflow, while depriving inmates of the

    ability to shower except in freezing cold water, even for a few days, creates a fairly obvious

    risk of a deprivation of a minimum humane standard of health and sanitation. There is also


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    evidence that Nurse Paulsen expressed concern about the overcrowding; although she did

    not inform Captain Gore directly, a jury could infer that he knew of the risk for the same

    reasons that she did. Moreover, there is evidence that despite a policy concerning

    segregation of inmates with symptoms of infectious diseases, that policy could not be

    implemented when the Jail was filled beyond capacity.8 In addition, Captain Gore was

    informed by memo that several detainees in the D-Pod were ill, which, in light of the

    number of detainees in the facility, presents an obvious risk of the spread of infection.

    Finally, it appears that Captain Gore’s sanitation inspections were cursory and the Jail

    doctor was not allowed to enter the pod for his inspections, which could support an

    inference of deliberate indifference.

           Moreover, Captain Gore is not entitled to qualified immunity in this regard. As

    discussed above, I conclude that Plaintiff can demonstrate that Captain Gore violated his

    Eighth Amendment right to humane conditions of confinement. I look to whether the right

    was clearly established at the time.     In order for the law to be considered clearly

    established, the Tenth Circuit has explained that “there must be a Supreme Court or Tenth

    Circuit decision on point, or the clearly established weight of authority from other courts

    must have found the law to be as the plaintiff maintains.” Medina v. City and County of

    Denver, 960 F.2d 1493, 1498 (10th Cir. 1992). In 2003, when Plaintiff was detained at the

    Jail, several cases had clearly established an inmate’s right to humane conditions of



           8
            Similarly, the existence of a policy mandating the creation of an infectious
    disease committee and regular reports, while never implemented, is further evidence
    that Captain Gore knew about the need to prevent the spread of infectious disease in
    the Jail but failed to follow up.

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    confinement, including to basic sanitation. The decision in Farmer v. Brennan clearly

    established that a prison official’s deliberate indifference to a substantial risk of serious

    harm to inmate health or safety could give rise to liability. The DeSpain case also

    established the particular hazards of allowing inmates to be exposed to human waste,

    even for a short time. Similarly, cases such as Wilson v. Seiter, 501 U.S. 294 (1991) and

    Craig v. Eberly, 164 F.3d 490 (10th Cir. 1998) made clear that several conditions of

    confinement may combine to establish an Eighth Amendment violation “when they have

    a mutually enforcing effect that produces the deprivation of a single, identifiable human

    need such as food, warmth, or exercise.” Wilson, 501 U.S. at 304. Here, a reasonable jury

    could conclude that the overcrowding, failure to segregate ill inmates, hot and cold water

    problems, toilet backups, and inability to clean the pod combined to create a serious

    deprivation of hygiene and sanitation. Accordingly, I conclude that Captain Gore is not

    entitled to qualified immunity.

           D.     Official Capacity

           Defendants Wegener and Gore also argue that no municipal liability can attach

    because adequate policies were in place to ensure appropriate conditions, including

    policies relating to bedding and laundry, medical screening procedures, and adequate

    responses to complaints about cold and plumbing problems, and policies regarding

    cleaning of the pods. Moreover, Defendants argue that there was no custom, policy, or

    practice of the Jail to house more than a constitutional number of detainees in D-Pod. I

    disagree.

           In order to establish municipal, or county, liability, a plaintiff must show “that the


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    unconstitutional actions of an employee were representative of an official policy or custom

    of the municipal institution, or were carried out by an official with final policy making

    authority with respect to the challenged action.” Camfield v. City of Oklahoma City, 248

    F.3d 1214, 1229 (10th Cir. 2001). There is no dispute that the Sheriff has final policy

    making authority over the conditions at the Jail and that he delegated that authority to

    Captain Gore. There is evidence from which a reasonable jury could infer that the

    overcrowding was the result of an official or unofficial policy. Plaintiff has presented

    testimony from several Jail employees indicating that overcrowding was not limited to the

    time of Plaintiff’s detention and that Captain Gore instructed deputies not to turn away any

    INS detainees. There are monthly statistics that could show that the Pod often held more

    than an optimal number of inmates. This inference could also supported by evidence that

    the Jail had a practice of putting inmates on the floor when bunks were filled, which again

    indicates a policy of permitting overcrowding. Plaintiff also has presented evidence that

    the overcrowding prevented the implementation of otherwise adequate policies relating to

    cleaning and preventing the spread of infectious disease.

           Defendants also argue that Plaintiff cannot demonstrate a connection between the

    allegedly overcrowded/unsanitary conditions and his injuries. This is an issue of material

    fact. Plaintiff has presented evidence that he was not ill before his arrival at the Jail and

    a jury could reasonably infer that he contracted his illness as a result of exposure to other

    inmates and the inability to maintain a hygienic environment because of the overcrowding.

    Accordingly, summary judgment on Plaintiff’s municipal liability claim for failure to provide

    humane conditions of confinement is not appropriate.


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    4.     Constitutional Violation For Failure to Provide Translator at Jail

           Although not clearly identified as a separate violation in his complaint, Plaintiff also

    apparently asserts a separate claim of violation of due process for the failure of the Jail

    to provide a translator. There is no indication that the failure to provide Plaintiff with

    prompt medical treatment was due to any difficulty in communication. The only time that

    Plaintiff did not have someone available to translate for him was on the morning that Nurse

    Paulsen determined he needed to be taken to the medical center, and so having a

    translator would have made little difference. Plaintiff appears to argue in the alternative

    that he was given medical treatment without his consent. However, the only treatment

    administered to Plaintiff without information from a translator was cranberry juice; Plaintiff

    has not identified any harm resulting from this. Even if Plaintiff could establish a harm, he

    has not identified any Tenth Circuit or Supreme Court case establishing a constitutional

    right to a translator such that the Defendants’ claim of qualified immunity could be

    overcome. Accordingly, summary judgment is appropriate on this claim.

    5.     Constitutional Violation - Equal Protection

           Plaintiff also vaguely asserts a claim for violation of equal protection under the laws,

    arguing that his entitlement to safe and humane conditions is a fundamental right.

    Defendants contend that this claim fails because, inter alia, Plaintiff must demonstrate that

    a challenged policy or act has a discriminatory effect and was motivated by a

    discriminatory intent and that Plaintiff was treated differently from others similarly situated

    to him. See United States v. Armstrong, 517 U.S. 456, 466 (1996); Tonkovich v. Kansas

    Board of Regents, 159 F.3d 504, 532 (10th Cir. 1998). Plaintiff appears to argue in


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    response that since his claim concerns a fundamental right, he need not identify a similarly

    situated group. Plaintiff misapprehends the applicable law.

           “The threshold requirement of an Equal Protection claim is a showing that the

    government discriminated among groups.” Kinnell v. Graves, 265 F.3d 1125, 1128 (10th

    Cir. 2001).   Where the classification at issue does not affect a suspect class or

    fundamental right, it need only bear a “rational relationship” to a legitimate end. Id. Where

    a suspect class or fundamental right is implicated, a government classification is subjected

    to strict scrutiny review. Save Palisade FruitLands v. Todd, 279 F.3d 1204, 1210 (10th Cir.

    2002). In his response brief, Plaintiff does not identify any classification that he contends

    discriminated among different groups at the Jail. In addition, he presents absolutely no

    evidence pertaining to the medical treatment or conditions of confinement of any other

    group under the control of this particular government authority. Accordingly this claim

    must fail.

           Accordingly, it is ordered:

    1.     The Motion for Summary Judgment from Defendants Park County Board of County

           Commissioners, Fred Wegener and Monte Gore (doc no 117) is granted in part.

           The claims asserted against the Board of County Commissioners are dismissed.

           The claims based on inadequate medical treatment against Fred Wegener and

           Monte Gore in their individual and official capacities are dismissed.

    2.     The Supplemental Motion for Summary Judgment (doc no 195) is granted.

           Plaintiff’s claims based on the failure to provide a translator and for violation of his

           equal protection rights are dismissed.


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    3.    Vicki Paulsen’s Motion for Summary Judgment (doc no 121) is denied.

    4.    The following claims of Plaintiff remain pending:

          a.    First Claim for Relief against Defendants Wegener and Gore in their

                individual and official capacities for inhumane conditions of confinement;

          b.    Second Claim for Relief against Defendant Paulsen individually for

                constitutionally inadequate medical care; and

          c.    Third Claim for Relief against Defendant Paulsen for negligence.

          DATED at Denver, Colorado, on August 17, 2007.

                                                   BY THE COURT:



                                                   s/ Walker D. Miller
                                                   United States District Judge




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